974 F.2d 1330
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Clifton CRAWFORD, Plaintiff-Appellant,v.James N. ROLLINS, Warden;  Bernard Smith, Acting Warden;Major Jednorski;  Sergeant Locklear, Defendants-Appellees.
    No. 92-6062.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  May 6, 1992Decided:  September 2, 1992
    
      Clifton Crawford, Appellant Pro Se.
      John Joseph Curran, Jr, Attorney General, Amy Beth Kushner, OFFICE OF THE ATTORNEY GENERAL OF MARYLAND, Baltimore, Maryland, for Appellees.
      Before WILKINSON and LUTTIG, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    OPINION
    
      1
      Clifton Crawford appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Crawford v. Rollins, No. CA-91-1333-WN (D. Md. Jan. 6, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    